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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JOHN THUESEN,                                §
                                             §
                Petitioner,                  §
                                             §
v.                                           § CAUSE NO. 4:20-cv-00852
                                             §
LORIE DAVIS, Director, Texas                 §
Department of Criminal Justice,              § CASE INVOLVING THE DEATH
Correctional Institutions Division,          § PENALTY
                                             §
                Respondent.                  §

                                      ADVISORY
TO THE HONORABLE KEITH P. ELLISON, UNITED STATES DISTRICT
JUDGE:
       COMES NOW the Federal Public Defender for the Western District of Texas, by

and through the undersigned supervising assistant for the Capital Habeas Unit, who advises

that the attorneys named below wish to make, and through the attached notices do make,

their appearances as counsel for PETITIONER JOHN THUESEN. These attorneys also

move this Court pursuant to Local Rule 83.1(K) to accept and grant the attached motions

for leave to appear without admission to the bar of this Court or as members of the bar pro

hac vice.

       This is a capital habeas corpus proceeding. On February 18, 2020, this Court

docketed as a Motion to Appoint Counsel, Mr. Thuesen’s letter stating that he entered into

an agreement with attorney Glenn A. Danas to secure Mr. Danas’s representation before this

Court. This Court contacted the undersigned regarding Mr. Thuesen’s letter and Mr.
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Danas’s qualifications to provide representation. See Lugo v. Secretary, Florida Dept. of

Corrections, 750 F.3d 1198, 1215 (11th Cir. 2014); Judicial Conference of the United States,

Guide to Judicial Policy, Vol. 7, Guidelines for Administration of the Criminal Justice Act,

Ch. 6, § 620.

       The undersigned investigated and, based on that investigation, recommends this

Court grant leave for Mr. Danas and his colleagues to appear on Mr. Thuesen’s behalf. Mr.

Danas has an excellent reputation and has experience in federal habeas corpus matters,

including a capital case. Attorneys in the Capital Habeas Unit and resource counsel stand

ready to advise and assist Mr. Danas and his colleagues should the need arise.

       The following attorneys have agreed to represent Mr. Thuesen in this matter:

                              Glenn Danas—Attorney-in-charge
                                    Robins Kaplan, LLP
                                   2049 Century Park East
                               Los Angeles, California 90067


                           Geoffrey H. Kozen & Emily Tremblay
                                    Robins Kaplan, LLP
                                     800 LaSalle Avenue
                                         Suite 2800
                               Minneapolis, Minnesota 55402


       FOR THESE REASONS, the undersigned advises that Mr. Thuesen has counsel

capable of fulfilling the duties required of counsel appointed pursuant to 18 U.S.C. § 3599(a).
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DATED: April 20, 2020              Respectfully submitted,

                                   MAUREEN FRANCO
                                   FEDERAL PUBLIC DEFENDER

                                    /s/ Tivon Schardl
                                   TIVON SCHARDL
                                   CAPITAL HABEAS UNIT CHIEF
                                   FL Bar No. 73016
                                   Federal Defender Office
                                   919 Congress, Suite 950
                                   Austin, Texas 78701
                                   737-207-3007 (tel.)
                                   512-499-1584 (fax)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of April 2020, I electronically filed the foregoing

Advisory with the Clerk of Court using the CM/ECF system which will send notification of

such filing to the following:

Edward Larry Marshall
Office of the Attorney General
PO Box 12548
Austin, TX 78711
512-936-1400
Fax: 512-320-8132
Email: caddocket@oag.texas.gov

                                            /s/ Tivon Schardl
                                            Tivon Schardl
